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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

PA1\/1ELA S. PEITZ *
196 Chesley Drive
Falling Waters, West ergim'a 25419 *
Plaintiff *
v. *
MEDICAL PRACTICES OF * Case No.:
ANTIETAM, LLC, t/a MERITUS
CENTER FOR BREAST HEALTH *
11110 Medical Campus Road
Hagerstown, Maryland 21742 *
Serve On: "'
JOSeph P. ROSS
11116 Medica1 Campus Road *

Hagerstown, Maryland 21742
and *

ASSOCIATED RADIOLOGISTS, PA *
251 Antietam Su”eet

Hagerstown, Maryland 21740 *
Serve On: “‘
Robert A. Snyder, Jr.

100 light Street, llth Floor *

Baltimore, Maryland 21202
and *

DIAGNOSTIC lMAGING SERVICESp LLC
11110 Medica] Campus Road, Suite 229

Hagerstown, Ma;ryla.nd 21742 *
Sel've ()n: ”‘
Joseph P. Ross
111 16 Medical Ca.mpus Road *

Hagerstown, Maryland 2 1 742
and l *

NARASIM S. MURTHY, M.D. *

 

 

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Associated Radiologists, PA
322 East Antietam Street, Suite 106 *
Hagerstown, Maryland 21740

and *
UNIVERSITY OF MARYLAND *
MEDICAL CENTER, LLC

22 South Greene Street *

Ba1tim0re, Ma'ryland 21201

Serve On: "‘
Megan 1\/1. Arthul'
250 W. Pratt Street *
24th F100r
Baltirnore, Maryland 21201 *
and *
SUSAN B. KESMODEL, M.D. *
Universily 010 Miarni
1 120 NW 14th Street, #410T *
Miami, Florida 3 3 13 6
>i<
Defendants
a=
*$****$***>I¢$$
COMPLAINT

Plaintiff, Pamela S. Peitz (“MS. Peitz”), by and through her attorneys, Paul D. Bekrnan,
Aryeh 1\/1. Rabinowitz, and Bekman, Marder, and Adkins, LLC, and Stephen G. Skjnner, and the
Skinner LaW Firm, Sue the Defendants, Medical Practices of Antietam, LLC, t/a Meritus Center
for Breast Health; Associated Radiologists, PA; Diagnost'lc Imaging Services, LLC; Na;rasim S.
Murthy, M.D.; University of Maryland Medical Center, LLC; and Susan B. Keslnode}, M.D.,

and States as folloWS:

 

 

 

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.]URISDICTION AND VENUE

l. On or about l\/larch 8, 2018, a Statement of Claim (HCA No. 2018~114) alleging
medical negligence, along with two Certificates of Qualif`led EXpert and Reports and an Election
to Waive Arbitration, were filed on behalf of Ms. Peitz with the Health Claims Alternative
Dispute Resolution Office (“HCADRO”), as required by Maryland law. See Elcction to Waive
Arbit;ration and Certificates of Qualified Expert and Reports, attached as Exhibit 1.

2. HCADRO issued an Order of Transfer to the United States District Court for the
District of Maryland on March 12, 2018. See Order of Transfer, attached as Exhibit 2.

3. On March 9, 2018, after the Staternent of Claim was filed, but before the Order of
Transfer was issued, Ms. Peitz passed away from the injuries suffered as a result of the medical
negligence See Death Certificate, attached as EXhibit 3. Because the Order of Transfer was filed
on March 12, 2018, the 60~day deadline to file the Cornplaint in federal court falls on or about
May 10, 2018.

4. Ms. Peitz’s partner, Daniel B. MacEwen, was named the Personal Representative
of her Estate on April 18, 2018. See Letter of Administration, attached Exhibit 4. Thus,
concurrent With the filing of this Complaint and Election for lury Trial, Plaintiffs will also file a
Suggestion of Death and Motion to Substitute Party under FRCP 25(a).

5. ln short order, Barrett M. Pcitz, as the surviving son of Ms. Peitz, will file the
wrongful death portion of the lawsuit as a new statement of claim in HCADRO, along with
certificates of quali§ed experts and reports, and an election to waive arbitration Follow'ing an
expected order of transfer, Plaintiffs will then move to consolidate the survival and wrongful
death portions of the lawsuit into one action in federal court.

6. The amount of this claim exceeds Seventy-Five Thousand Doliars ($75,000.00).

 

 

 

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7. Plaintiff, l\/ls. l’eitz is a citizen and resident of West Virginia.

8. Jurisdiction is proper in the United States District Court for the District of
l\/laryland under 28 U.S.C. § 1332, as this controversy involves a dispute between citizens of
different states and the amount in controversy exceeds the jurisdictional requirement

9. Defendant Medical Practices of Antietam, LLC, t/a l\/Ieritus Center for Breast
Health, is a Maryland limited liability company with its principal office in Hagerstown,
l\/laryland.

10. At all relevant times, Medical Practices of Antietam, LLC, t/a Meritus Center for
Breast I-lealth, held itself out to the public, including Ms. Peitz, as a provider of broad range of
medical services, including but not limited to the diagnosis and treatment of cancer.

11. Defendant Associated Radiologists, PA, is a Maryland professional corporation
with its principal office in Hagerstown, Maryland.

12. At all relevant times, Associated Radiologists, PA, held itself out to the public,
including Ms. Peitz, as a provider of services relating to the field of radiology, including but not
limited to radiology related to cancer.

13. Defendant Diagnostic lmaging Services, LLC, is a Maryland limited liability
company with its principal office in Hagerstown, l\/laryland.

14. At all relevant times, Diagnostic Imaging Services, LLC, held itself out to the
public, including l\/ls. Peitz, as a provider of services relating to the Held of radiology, including
but not limited to radiology related to cancer.

15. Narasim S. Murthy, M.D., is a radologist iicensed to practice in Maryland. At all
relevant times, Dr. Murthy held himself out to the public, and to l\/ls. Peitz, as an experienced,

competent and able radiologist, possessing and providing that degree of skill and knowledge

 

 

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which is ordinarily possessed by those who devote special study and attention to such a practice
and, as such, owed a duty to Ms. Peitz to render that degree of care and treatment to her which is
ordinarily rendered by those who devote special study and attention to the practice of radiology.

16. At all relevant times, Dr. Murthy held himself out to the public, including to Ms.
Peitz, as a provider of services relating to the Held of radiology, including but not limited to
radiology related to cancer.

17. At all relevant times, Medical Practices of Antietarn, LLC, t/a Meritus Center for
Breast Health, Associated Radiologists, PA, and Diagnostic lmaging Services, LLC, were acting
individually and/or by and through its actual and/or apparent agents, servants, and employees,
including but not limited to Dr. l\/lurthy.

18. Defendant University of Maryland Medical Center, LLC, is a Maryland limited
liability company corporation with its principal office in Baltimore, Maryland.

19. At all relevant times, University of Maryland Medical Center, LLC, held itself out
to the public, including to Ms. Peitz, as a provider of broad range of medical services, including
but not limited to the diagnosis and treatment of cancer.

20. Susan B. Kesmodel, M.D., is a surgical oncologist licensed to practice in
Maryland, Florida, and Texas. At all relevant times, Dr. Kesmodel held herself out to the public,
and to Ms. Peitz, as an experienced, competent and able surgical oncologist, possessing and
providing that degree of skill and knowledge which is ordinarily possessed by those who devote
special study and attention to such a practice and, as such, owed a duty to Ms. Peitz to render that
degree of care and treatment to her which is ordinarily rendered by those who devote special

study and attention to the practice of surgical oncology.

 

 

 

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21. At all relevant times, Dr. Kesmodel held herself out to the public, including to
Ms. Peitz, as a provider of services relating to the field of surgical oncology, including but not
limited to surgery related to cancer.

22. At all relevant times, Medical Practices of Antietam, LLC, t/a Meritus Center for
Breast Health, and University of l\/laryland l\/ledical Center, LLC, were acting individually and/ or
by and through its actual and/or apparent agents, servants, and employees, including but not
limited to Dr. Kesmodel.

Factual Background

23. Plaintiff` adopts and incorporates herein all preceding paragraphs

24. Ms. Peitz was diagnosed with early-stage breast cancer in 2015. There was no
evidence of any metastatic disease. She was scheduled to have a lumpectomy and radiation to
treat the breast cancer.

25. As part of the preoperative course for the lumpectomy, the surgical oncologist
who was treating Ms. Peitz at the Meritus Center for Breast Health, and who was employed by
the University of Maryland Medical Center, Dr. Susan Kesmodel, ordered a chest X-ray.

26. The chest X-ray was performed on April 28, 2015. lt was read at the l\/ieritus
Center for Breast Health by an employee of Radiology Associates, PA and Diagnostic lmaging
Services, LLC, Dr. Narasim Murthy. Dr. Murthy noted that:

There is an irregularly marginated nodule seen overlying the
RIGHT chest on the frontal view. This appears to be located

posteriorly on the lateral view and is likely within the RIGHT
lower lobe and measures 2.2 x 2.7 X 3.0 crn.

ln his impressions, Dr. Murthy continued that there was a:

Sornewhat cavitary appearing oval poorly defined nodule within
the RIGHT lower lobe measuring 2.2 X 3 X. 2.7 cm. CT chest with
contrast is suggested for further evaluation.

 

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27. Despite Dr. Murthy identifying a mass in l\/is. Peitz’s right lung, and even though
he thought it serious enough to suggest a further CT scan of the chest with contrast to evaluate
the mass, Dr. Murthy, in violation of the standard of care, did not directly communicate his
finding to the ordering physician, Dr. Kesmodel, or to the patient, l\/is. Peitz. And, although Dr.
Kesmodel, as the ordering physician, received a written copy of Dr. Murthy’s report, as noted on
the face of the report, she did not act in any way to inform Ms. Peitz of Dr. l\/lurthy’s findings, or
to conduct further studying and testing of the mass in l\/ls. Peitz’s right lung. This too was in
breach of the standard of care.

28. l\/ls. Peitz underwent lumpectomy and radiation for her breast cancer in 2015. She
did not have any further issues relating to her breast cancer.

29. ln April 2017, l\/ls. Peitz began to have trouble breathing, and developed flu-like
symptoms, a cough, and fatigue. Her primary care physician sent her for a chest X-ray on April
14, 2017. The chest X-ray report compared the findings to the findings of the previous chest X~ray
of April 28, 2015, and noted:

Nodular mass involving the RIGHT lower lobe is again seen. This

measures today 3.5 X 3.5 X 3.8 cm. Previously this had measured
2.8 X 2.2 X 3.2 cm, increased in size.

The impressions noted as well, that there was an:
Increasing size RIGHT lower lobe pulmonary nodule or mass
measuring currently 3.5 x 3.5 X 3.8 cm. Previously, this had

measured, 2.8 X 2.2 X 3.2 cm, increased in size. Further evaluation
with C'l` scan with contrast is suggested

30. Ms. Peitz underwent a follow-up CT scan of the thorax with contrast on April 19,
2017. The scan found a mass in the superior segment of the lower right lobe measuring about 5 X
2.9 X 3.1 cm. There were also enlarged right hilar (2.4 X 1.8 cm) and subcarinal lymph nodes (2.0

X 1.8 cm and 1.8 X 1.2 cm), a pulmonary nodule in the right lower lobe measuring 7 X 6 mm, and

 

 

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possible atelectasis in the right ltmg. A biopsy of the masses showed that these lesions were
uniquely lung cancer, and not a spreading of Ms. Peitz’s earlier breast cancer. The scan also
found a sclerotic lesion at Ll that was consistent with metastatic disease.

31. Subsequent testing showed that the lung cancer had metastasized to l\/ls. Peitz’s
spine (Ll, L4, and L5, including the destruction of most of the right aspect of the Ll vertebral
body), sacrum, and brain (lesions in both cerebellar hemispheres, left occipital lobe, left temporal
lobe, right frontal lobe, and right parietal lobe).

32. Ms. Peitz began radiation therapy with the prognosis that she would die of
metastatic lung cancer. lf the existence of the mass in her lung had been communicated properly,
and the mass had been treated in April 2015, then her chance of survival would have been greater
than 50%. By the time that the mass in her lung, and the accompanying metastatic disease, was
properly identified and treated in April 2017, her chance of survival was far less than 50%.

33. Ms. Peitz died from her illness on March 9, 2018.

COUNT I - SURVIVAL CLAIM ~ ME].`)ICAL NEGLIGENCE
(Meritus, Associated Radiologists, Diagnostic lmaging Services, and Dr. l\/lurthy)

34. Plaintiff adopts and incorporates by reference herein all preceding paragraphs

35. At all relevant times, Defendants were engaged in a healthcare provider¥patient
relationship As such, Defendants owed l\/ls. Peitz a duty to provide her with the appropriate
standard of medical care and treatment of a reasonably prudent health care provider and
radiologist, including in the proper communication of the indings on the chest X-ray taken on
Apri128, 2015.

36. During the course of their relationship, Dr. Murthy was acting as the actual and/or
apparent agent, servant, or employee of l\/ledical Practices of Antietam, LLC, t/a l\/leritus Center

for Breast Health, Associated Radiologists, PA, and Diagnostic imaging Services, LLC, and was

 

 

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acting in the scope of said employment The Medical Practices of Antietarn, LLC, t/a l\/leritus
Center for Breast Health, Associated Radiologists, PA, and Diagnostic lmaging Services, LLC
Defendants are therefore vicariously liable for Dr. l\/lurthy’s conduct
37. Defendants breached their aforementioned duty to Ms. Peitz in that they:
a. Failed to properly and directly communicate the findings of
the chest x-ray of April 28, 2015, which identified a mass

in l\/is. Peitz’s right lung, to either the ordering physician,
Dr. Kesmodel, or to the patient, l\/ls. Peitz;

b. Were otherwise negligent, careless, and reckless

38. As a proximate and direct result of Defendants’ negligence, the mass in Ms.
Peitz’s right lung was left to grow for two years. This caused Ms. Peitz to suffer irreparable
harm, and severe and permanent physical injuries and damages, prior to her death. These
damages include the extensive enlargement and growth of the mass in her right lung, and the
metastasis of the lesion to her spine, sacrum, and brain, and culminated in her death. lf the
existence of the mass in her lung had been communicated properly, and the mass had been
resected in 2015 when she had early~stage lung cancer, then her chance of survival would have
been greater than 50%. By the time that the mass in her lung, and the accompanying metastatic
disease, was properly identified and treated in 2017 when she had Stage 4 lung cancer, her
chance of survival was far less than 50%. l\/ls. Peitz incurred increased medical care and
treatment, severe pain and suffering, mental anguish, inconvenience and discomfort, lost wages,
diminished enjoyment of life, and other damages, prior to her death, due to the negligence of
Defendants. As a result of Ms. Peitz’s death, Plaintiffs also incurred funeral expenses, which are

also claimed as damages

 

 

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39. All of the losses, damages, injuries, sustained by l\/is. Peitz, including her death,
were directly and proximately caused by the negligence of Defendants, without any negligence
on the part of Ms. Peitz contributing thereto.

WHEREFORE, Plaintiff Pamela S. Peitz claims damages against Defendants in an
amount to be determined by a jury, together with all costs.

COUN'I` II - SURVIVAL CLAIM - MEDICAL NEGLIGENCE
(l\/leritus, University of l\/laryland l\/ledical Center, and Dr. Kesmodel)

40. Plaintiff adopts and incorporates by reference herein all preceding paragraphs

41. At all relevant times, Defendants were engaged in a healthcare provider#patient
relationship As such, Defendants owed l\/ls. Peitz a duty to provide her with the appropriate
standard of medical care and treatment of a reasonably prudent health care provider and surgical
oncologist, including in taking proper action based on the findings in chest x~ray reports

42. During the course of their relationship, Dr. Kesmodel was acting as the actual
and/or apparent agent, servant, or employee of Medical Practices of Antietam, LLC, t/a l\/leritus
Center for Breast Health, and University of Maryland Medical Center, LLC, and was acting in
the scope of said employment The Medical Practices of Antietam, LLC, t/a l\/leritus Center for
Breast Health, and University of l\/laryland l\/ledical Center, LLC Defendants are therefore
vicariously liable for Dr. Kesmodel’s conduct

43. Defendants breached their aforementioned duty to Ms. Peitz in that they:

a. Failed to properly review the findings of the chest x-ray

taken on April 28, 2015, which identified a mass in Ms.
Peitz’ s right lung, after ordering the chest x-ray;

b. Failed to correctly inform and advise Ms. Peitz of the
findings of the chest x-ray;

c. Failed to properly treat the mass in l\/ls. Peitz’s right lung;
d. Were otherwise negligent, careless, and reckless.

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44. As a proximate and direct result of Defendants’ negligence, the mass in Ms.
Peitz’s right lung was left to grow for two years. This caused l\/ls. Peitz to suffer irreparable
harm, and severe and permanent physical injuries and damages, prior to her death. These
damages include the extensive enlargement and growth of the mass in her right lung, and the
metastasis of the lesion to her spine, sacrum, and brain, and culminated in her death. lf the
existence of the mass in her lung had been communicated properly, and the mass had been
resected in 2015 when she had early~stage lung cancer, then her chance of survival would have
been greater than 50%. By the time that the mass in her lung, and the accompanying metastatic
disease, was properly identified and treated in 2017 when she had Stage 4 lung cancer, her
chance of survival was far less than 50%. l\/ls. Peitz incurred increased medical care and
treatment, severe pain and suffering, mental anguish, inconvenience and discomfort, lost wages,
diminished enjoyment of life, and other damages, prior to her death, due to the negligence of
Defendants. As a result of l\/ls. Peitz’s death, Plaintiffs also incurred funeral expenses, which are
also claimed as damages

45. All of the losses, damages, injuries, sustained by Ms. Peitz, including her death,
were directly and proximately caused by the negligence of Defendants, without any negligence
on the part of Ms. Peitz contributing thereto.

WHEREFORE, Plaintiff Pamela S. Peitz claims damages against Defendants in an

amount to be determined by a jury, together with all costs.

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